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                                             U.S. Department of Justice
[Type text]
                                                     United States Attorney
P                                                    Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     August 8, 2023


By ECF
Catherine O’Hagan Wolfe
Clerk of Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     Tanvir v. Comey
               Docket No. 23-738

Dear Ms. Wolfe:

       Pursuant to this Court’s Local Rule 31.2(a), defendants-appellees respectfully request a
deadline of October 27, 2023, for the filing of their brief in the above-named appeal. The requested
deadline is 91 days from July 28, 2023, the date plaintiffs-appellants filed their brief.


                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney for the
                                              Southern District of New York

                                      By:     /s/ Sarah S. Normand
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cc:    Counsel of Record
       By ECF
